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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO.: 14-CV-24827-UU




TAL HILSON,

                 Plaintiff,                                    INJUNCTIVE RELIEF SOUGHT

vs.

AWALE DEVELOPMENT TWO, INC., a Florida
corporation d/b/a Dunkin Donuts #330260, and
SSC330260, LLC.,

              Defendants.
_______________________________________________/



                                       AMENDED COMPLAINT

      Plaintiff, TAL HILSON, (hereinafter “Plaintiff”) through the undersigned counsel, hereby files

  this Complaint and sues AWALE DEVELOPMENT TWO, INC., a Florida corporation d/b/a

  Dunkin Donuts #330260 (“DUNKIN DONUTS #330260”), and SSC330260, LLC., (hereinafter,

  referred to as “the Defendants”), for declaratory and injunctive relief, attorney fees, expenses and

  costs (including, but not limited to, court costs and expert fees) pursuant to 42 U.S.C. 12182 et seq.,

  the 2010 ADA Standards (AMERICANS WITH DISABILITIES ACT” or “ADA”) and alleges:




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                                      JURISDICTION AND VENUE

   1.     This Honorable Court is vested with original jurisdiction over this action pursuant to 28

U.S.C. §1331 and §343 for Plaintiff’s claims arising under Title 42 U.S.C. §12182 et. seq.,

based on Defendants’ violations of Title III of the Americans With Disabilities Act (hereinafter

referred to as the "ADA"). See also 28 U.S.C. §2201 and §2202 and 2010 ADA Standards.

   2.      Venue is proper in this Court, the Southern Division, pursuant to 28U.S.C.

§1391(B) and rule 3.1 Local Rules of the United States District for the Southern

District of Florida in that all the events giving rise to the lawsuit occurred in Miami

Dade county, Florida.



                                                 PARTIES

   3.       Plaintiff, TAL HILSON is sui juris and is a resident of the State of Florida. He is an

individual with a disability known as cerebral palsy resulting in an impairment in motor and sensory

function of the lower half of his body. At the time of Plaintiff’s visit in September, 2014, to

Defendants’ facility and prior to instituting this action, Plaintiff suffered from a “qualified disability”

under the ADA, and requires use of a wheelchair for mobility. The Plaintiff personally visited the

Defendants’ facility but was denied full and equal access and full and equal enjoyment of the

facilities, services, goods, and amenities within Defendants’ facility, even though he would be

classified as a “bona fide patron”.




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   4.     Plaintiff will avail himself of the services offered at the facility in the future, provided that

the Defendants modify the Premises or modify its’ policies and practices to accommodate

individuals who use wheelchairs.

   5.      Completely independent of the personal desire to have access to this place of public

accommodation free of illegal barriers to access, Plaintiff also acts as a “tester” for the purpose of

discovering, encountering, and engaging discrimination against the disabled in public

accommodations. When acting as a “tester,” Plaintiff employs a routine practice. Plaintiff personally

visits the public accommodation; engages all of the barriers to access, or at least all of those that

Plaintiff is able to access; and tests all of those barriers to access to determine whether and the extent

to which they are illegal barriers to access; proceeds with legal action to enjoin such discrimination;

and subsequently returns to the premises to verify its compliance or non-compliance with the ADA

and to otherwise use the public accommodation as members of the able-bodied community are able

to do. Independent of other subsequent visits, Plaintiff also intends to visit the premises annually to

verify its compliance or non-compliance with the ADA, and its maintenance of the accessible

features of the premises. In this instance, Plaintiff, in Plaintiff’s individual capacity and as a

“tester,” visited the Facility, encountered barriers to access at the Facility, and engaged and tested

those barriers, suffered legal harm and legal injury, and will continue to suffer such harm and injury

as a result of the illegal barriers to access and the ADA violations set forth herein. It is the

Plaintiff’s belief that said violations will not be corrected without court intervention, and thus the

Plaintiff will suffer legal harm and injury in the near future.



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   6.        Defendants are authorized to conduct and are in fact conducting business within the state

of Florida. Upon information and belief, Defendants are the lessees, operators, owners and lessors of

the Real Property (hereinafter “Subject Facility”) and the owner of the improvements where the

Subject Facility which is the subject of this suit is located at 16171 Biscayne Blvd, Miami, FL,

33160 and also maintain and control the Subject Facility.

   7.        All events giving rise to this lawsuit occurred in the State of Florida, Miami Dade

county. Venue is proper in this Court.

                  VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

   8.         Plaintiff adopts and re-alleges the allegations stated in paragraph “1” through “5”of this

complaint as if fully stated herein.

   9.         On July 26, 1990, Congress enacted the Americans With Disabilities Act

("ADA"), 42 U.S.C. §12101 et. seq. Commercial enterprises were provided one and a half years

from enactment of the statute to implement its requirements. The effective date of Title III of the

ADA was January 26, 1992, or January 26, 1993 if Defendant(s) have ten (10) or fewer employees

and gross receipts of $500,000 or less. See 42 U.S.C. §12182; 28 C.F.R. §36.508(a).

   10.         Congress found, among other things, that:

        (i)         some 43,000,000 Americans have one or more physical or mental disabilities, and
        this number shall increase as the population continues to grow older;

        (ii)         historically, society has tended to isolate and segregate individuals with
        disabilities and, despite some improvements, such forms of discrimination against disabled
        individuals continue to be a pervasive social problem, requiring serious attention;

        (iii)        discrimination against disabled individuals persists in such critical areas as
        employment, housing, public accommodations, transportation, communication, recreation,
        institutionalization, health services, voting and access to public services and public facilities;



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     (iv)        individuals with disabilities continually suffer forms of discrimination, including
     outright intentional exclusion, the discriminatory effects of architectural, transportation, and
     communication barriers, failure to make modifications to existing facilities and practices,
     exclusionary qualification standards and criteria, segregation, and regulation to lesser services,
     programs, benefits, or other opportunities; and

     (v)          the continuing existence of unfair and unnecessary discrimination and prejudice
     denies people with disabilities the opportunity to compete on an equal basis and to pursue those
     opportunities for which our country is justifiably famous, and costs the United States billions of
     dollars in unnecessary expenses resulting from dependency and non- productivity.

     42 U.S.C. §12101(a)(1)-(3), (5) and (9).

     11.           Congress explicitly stated that the purpose of the ADA was to:

            i.      provide a clear and comprehensive national mandate for the elimination of
                    discrimination against individuals with disabilities;

            ii.     provide, clear, strong, consistent, enforceable standards addressing discrimination
                    against individuals with disabilities; and,

            iii.    invoke the sweep of congressional authority, including the power to enforce the
                    fourteenth amendment and to regulate commerce, in order to address the major
                    areas of discrimination faced on a daily by people with disabilities.

            U.S.C. §12101(b)(1)(2) and (4).

      12.          Pursuant to 42 U.S.C. §12182(7), 28 CFR §36.104 and the 2010 ADA

Standards, Defendants’ facility is a place o f public accommodation covered by the ADA

by the fact it is an establishment which provides services to the general public, and
must be in compliance therewith. The building and/or Subject Facilit y which is a subject

of this action is a public accommodation covered by the ADA and which must be in

compliance therewith.

      13.          The Defendants h a v e discriminated and continues to discriminate against
the Plaintiff and others who are similarly situated, by denying access to, and full and equal

enjo yment of goods, services, facilities, privileges, advantages and/or accommodations

located at 16171 Biscayne Blvd, North Miami Beach, Fla. 33181 as prohibited by 42 U.S.C.

§12182, and 42 U.S.C. §12101 et. seq., and by failing to remove architectural barriers

pursuant to 42 U.S.C. §12182(b)(2)(A)(iv).

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       14.         Plaintiff has visited the Subject Property, and has been denied full and
safe equal access to the facilit ies and therefore suffered an injury in fact.

       15.         Plaintiff would like to return and enjoy the goods and/or services at the

Subject Facilit y on a spontaneous, full and equal basis. However, Plaintiff is precluded from

doing so by the Defendants’ failure and refusal to provide disabled persons with full and equal
access to their facilities. Therefore Plaintiff continues to suffer from discrimination and injury due to

the architectural barriers which are in violation of the ADA.

       16.         Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the

Department of Justice, Office of the Attorney General promulgated Federal Regulations to

implement the requirements of the ADA See 28 CFR §36 and its successor the 2010 ADA
Standards ADA Accessibilit y guidelines (hereinafter referred to as “ADAAG), 28 C.F.R.

Part 36, under which said Department may obtain civil penalties of up to $55,000 for the first

violation and $110,000 for any subsequent violation.

       17.        Defendants are in violation of 4 2 U.S.C. §12182 et.seq. and the 2010

American Disabilities Act Standards et. seq., and a r e discriminating against the
Plaintiff as a result of inter alia, the following specific violations:

                       Men's Room

       1.      Clear floor space. The accessible fixtures and controls required in 4-22-4; 4-
22-5; 4-22-6 and 4-22-7 shall be on an accessible route. An unobstructed turning space

complying with 4-2-3 shall be provided within an accessible toilet room

       2.      The space required for a wheelchair to make a 180 degree turn is a clear
space of 60 inches diameter

       3.      66x46 Clear floor spaces for Water Closets not in stalls shall comply with
figure 11-28. Clear floor space shall be arranged to allow either a left-handed or right-

handed approach



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       4.     Toilet Paper dispensers shall be installed within reach, as shown in figure
11-29(b). Dispensers that control delivery, or that do not permit continuous paper flow,

shall not be used.

       To the best of Plaintiff’s belief and knowledge, the Defendants have failed to

eliminate the specific violations set forth in paragraph 17.

       18.     Subsequent to the date of Plaintiff’s original visit to Defendants’ Subject

Property, an expert determined that the violations referenced above were still

outstanding. Although Defendants are charged with having knowledge of the violations,

the Defendants may not have actual knowledge of said violations until this Complaint

makes the Defendants aware of same.

       19.     To date, the readily achievable barriers and other violations of the ADA

still exist and have not been remedied or altered in such a way as to effectuate

compliance with the provisions of the ADA.

       20.     Pursuant to the ADA, 42 U.S.C. §12101 et. seq., and 28 C.F.R. §36.304,
the Defendants were required to make the establishment a place of public accommodation,

accessible to persons with disabilit ies by January 28, 1992. As of this date the Defendants
have failed to comply with this mandate.

       21.     The Plaintiff has been obligated to retain the undersigned counsel for the

filing a n d prosecution of this action. Plaintiff is entitled to have its reasonable attorney's
fees, costs and expenses paid by the Defendants, pursuant to 42 U.S.C. §12205.

       22.      All of the above violations are readily achievable to modify in order to
bring the Facility/Property into compliance with the ADA.

       23.      Upon information and belief the Property has been altered since 2010.



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      24.         In instances where the 2010 ADAAG standard does not apply, the 1991
ADAAG standard applies and all of the violations listed in paragraph 16 can be applied to

the 1991 ADAAG standards.

      25.         Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to

grant Plaintiff's injunctive relief, including an order to alter the subject facilit ies to
make them readily accessible to and useable by individuals with disabilities to the extent

required by the ADA and closing the Subject Facilit y unt il the requisite modifications are

completed.

      WHEREFORE, Plaintiff demands judgment against the Defendants and requests
the following injunctive and declaratory relief:

            A. That this Honorable Court declares that the Subject Facilit y owned,
               operated and/or controlled by the Defendants in violation of the ADA.

            B. That this Honorable Court enter an Order requiring Defendants to alter
               their facilit ies to make them accessible to and usable by individuals with

               disabilit ies to the full extent required by Tit le III of the ADA;

            C. That this Honorable Court enter an Order directing the Defendants

               to evaluate and neutralize their policies, practices and procedures toward
               persons with disabilit ies, for such reasonable time so as to allow the

               Defendants to undertake and complete corrective procedures to the Subject
               Facilit y;

            D. That this Honorable Court award reasonable attorney's fees, all costs
               (including, but not limited to court costs and expert fees) and other

               expenses of suit to the Plaintiff; and




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        E. That this Honorable Court award such other and further relief as it may
           deem necessary, just and proper.

                  Dated this 9 day of January, 2015.



                                              Respectfully submitted,

                                              By: s/Mark Cohen
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